      Case 4:22-cv-00507 Document 1 Filed on 02/16/22 in TXSD Page 1 of 4




                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

MARBELIA LOPEZ                                    §
         Plaintiff,                               §
                                                  §
vs.                                               §              CASE NO. 4:22-cv-507
                                                  §
HOME DEPOT U.S.A., INC.,                          §
         Defendant                                §


                        DEFENDANT HOME DEPOT U.S.A., INC.’S
                              NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Defendant Home Depot U.S.A., Inc. (“Home Depot” herein), who files

this its Notice of Removal, on the basis of diversity jurisdiction, and would show the Court as

follows:

       1.      Home Depot is the Defendant in a civil action pending in Bexar County, Texas,

entitled Marbelia Lopez v. Home Depot U.S.A., Inc., Cause No. 2022-02584 (hereinafter referred

to as the "State Court Action"). An Index of Documents Filed with the Notice of Removal is

attached hereto as Exhibit "A," and true and correct copies of all process, and pleadings, served

upon Home Depot in the State Court Action are attached hereto as Exhibit “B,” as required by 28

U.S.C. §1446(a).

       2.      The State Court Action was filed on January 14, 2022. Home Depot was served

with Plaintiff’s Original Petition on January 21, 2022. Plaintiff’s Petition states that the damages

are more than $200,000.00 but not more that $1,000,000.00.
      Case 4:22-cv-00507 Document 1 Filed on 02/16/22 in TXSD Page 2 of 4




       3.      This notice is timely filed within thirty (30) days of Home Depot’s receipt of first

notice that this Court has jurisdiction over the subject matter of this case as required by 28

U.S.C. §1446(b), and within one year of the commencement of the lawsuit.

       4.      Plaintiff Marbelia Lopez is and was at the time of filing suit a citizen of the State

of Texas.

       5.      Home Depot is a corporation incorporated under the laws of the State of Delaware

with its principal place of business in Atlanta, Georgia. Home Depot is and was, therefore, a

citizen of the State of Delaware and Georgia.

       6.      Consequently, the district courts of the United States have original jurisdiction

over this action based on completely diversity of citizenship amongst and between the parties, in

that Plaintiff, on the one hand, and Home Depot, on the other hand, are now, and were at the time

this action commenced, diverse in citizenship from each other.

       7.      The amount in controversy in the State Court Action is in excess of $75,000.00,

exclusive of interests and costs. Accordingly, the State Court Action is within the original

jurisdiction of this Court pursuant to 28 U.S.C. §1332, as it is a civil action wholly between

citizens of different states, and the amount in controversy is in excess of the Court’s

jurisdictional minimum for diversity cases.

       8.      Under 28 U.S.C. §1446(a), venue of the removed action is proper in this Court as

it is the district embracing the place where the State Court Action is pending.

       9.      Pursuant to 28 U.S.C. §1446(d), Home Depot will promptly give written notice of

the filing of this notice of removal to Plaintiff and will further file a copy of this Notice of

Removal with the District Clerk of Harris County, Texas, where the action was previously

pending.




                                                 2
      Case 4:22-cv-00507 Document 1 Filed on 02/16/22 in TXSD Page 3 of 4




       10.     Jury Demand – Home Depot hereby requests trial by jury on all issues and

claims in this cause.

       WHEREFORE, Defendant Home Depot U.S.A., Inc. hereby removes the case styled

Marbelia Lopez v. Home Depot U.S.A., Inc., Cause No. 2022-02584, and respectfully requests

that this Court assume full jurisdiction of this proceeding for all purposes as if originally filed in

this Court, including but not limited to issuing any orders necessary to stay proceedings in the

State Court Action.

                                                      Respectfully submitted,

                                                      Hawkins Parnell & Young, LLP

                                               By:    /s/ Troy D. Helling
                                                      TROY D. HELLING
                                                      State Bar No. 24007340
                                                      thelling@hpylaw.com
                                                      AMY WELBORN
                                                      State Bar No. 24012853
                                                      awelborn@hpylaw.com
                                                      TAYLOR R. YETTER
                                                      State Bar No. 24102672
                                                      tyetter@hpylaw.com

                                                      4514 Cole Ave., Suite 500
                                                      Dallas, TX 75205
                                                      (214) 780-5100
                                                      (214) 780-5200 (Fax)
                                                              -AND-
                                                      2705 Bee Caves Road, Suite 220
                                                      Austin, Texas 78746
                                                      (512) 687-6900
                                                      (512) 687-6990 (Fax)

                                                      ATTORNEYS FOR DEFENDANT
                                                      HOME DEPOT USA, INC.




                                                  3
      Case 4:22-cv-00507 Document 1 Filed on 02/16/22 in TXSD Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify by my signature above that a true and correct copy of the foregoing
document has been sent via electronic service to counsel of record in accordance with the Texas
Rules of Civil Procedure, on this the 16th day of February 2022.

Jamal Hicks
The J. Hicks Law Group
530 Lovett Blvd.
Houston, TX 77006
jhicks@jhickslawgroup.com


                                                   /s/ Troy D. Helling_________
                                                   Troy D. Helling




                                              4
